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            Sealed                                                                     United States Courts
Public and unofficial staff access                                                   Southern District of Texas
     to this instrument are             UNITED STATES DISTRICT COURT                          FILED
   prohibited by court order             SOUTHERN DISTRICT OF TEXAS
                                                                                           May 17, 2023
                                             HOUSTON DIVISION
                                                                                   Nathan Ochsner, Clerk of Court
          UNITED STATES OF AMERICA                                  §
                                                                    §
          vs.                                                       §                 4:23-cr-218
                                                                        CRIMINAL NO. ____________
                                                                    §
          (1) HARDIK JAYANTILAL PATEL,                              §
              aka Erik aka Mitesh aka Nick aka Dev, and             §   UNDER SEAL
                                                                    §
          (2) DHIRENKUMAR VISHNUBHAI PATEL,                         §
                                                                    §
                          Defendants.                               §

                                              CRIMINAL INDICTMENT


         THE GRAND JURY CHARGES THAT:

                                                   INTRODUCTION

                  At times material to this Indictment:

                  1.     Defendants and others known and unknown to the Grand Jury were members of a

         criminal fraud conspiracy (the “Fraud Ring”) operating within the Southern District of Texas and

         elsewhere. The members of the Fraud Ring targeted victims throughout the United States, with

         the primary objective of tricking victims into sending money to the Fraud Ring. Commonly, those

         who fell prey to this fraud scheme were elderly persons.

                  2.     The scheme used various scams. One common scam involved members of the

         Fraud Ring based in India calling victims by telephone and misrepresenting themselves as U.S.

         government officials. They falsely stated that the victims were under investigation because the

         victims’ Social Security numbers or identities were associated with criminal activity.           To

         safeguard their assets, avoid arrest, or prevent government benefits from being cut off, the victims

         were instructed to send payment immediately.



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       3.      Sometimes victims were told to mail parcels containing cash to names and

addresses provided by the Fraud Ring. The addresses given were generally FedEx and UPS pick-

up locations. Co-conspirators in the United States picked up these parcels using fake identification

documents.

                                      COUNT ONE
                    (Conspiracy to Commit Mail Fraud– 18 U.S.C. § 1349)

       4.      Beginning in or about March 2019 and continuing through in or about November

2019, within the Southern District of Texas and elsewhere, Defendants

                             (1) HARDIK JAYANTILAL PATEL
                            aka Erik aka Mitesh aka Nick aka Dev,

                                               and

                        (2) DHIRENKUMAR VISHNUBHAI PATEL,

and others known and unknown to the Grand Jury, did knowingly conspire and agree to commit

the offense of knowingly and with the intent to defraud, devising and intending to devise a scheme

and artifice to defraud, and to obtain money and property by means of materially false and

fraudulent pretenses, representations, and promises, knowing that the pretenses, representations,

and promises were false and fraudulent when made, and to knowingly use and cause to be used

the United States mail and private and commercial interstate carriers for the purpose of executing

the scheme and artifice to defraud in violation of 18 U.S.C. § 1341 (mail fraud).

A.     The Manner and Means of the Scheme

       In furtherance of this conspiracy and to effect the objects thereof, the Defendants and other

unindicted co-conspirators used the following manner and means, among others:




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       5.      Co-conspirators would make telephone calls to victims throughout the United

States, including within the Southern District of Texas, and make false statements and promises,

such as:

               a.       that the caller worked for the United States government;

               b.       that the victims were under investigation or scrutiny by the

                        United States government; and

               c.       that the victims could avoid further investigation or scrutiny or

                        avoid the United States government taking action against the

                        victims’ assets by sending payment.

       6.      Generally, the Fraud Ring would instruct the victims to provide funds in one or

more ways, including to mail cash in a parcel using a private mail carrier such as Federal Express

(“FedEx”). Some parcels were mailed from locations within the Southern District of Texas.

       7.      Some parcels were mailed to FedEx locations inside various Walgreens drug

stores, including stores within the Southern District of Texas.

       8.      When a parcel containing victim cash was mailed to a FedEx location inside a

Walgreens drug store:

               a.       A handler(s) would send a runner to pick up the parcel using a

                        false identification document matching the name of the recipient

                        on the parcel.

               b.       When the runner had the parcel, the runner would make a video

                        recording counting the cash in the parcel.

               c.       The runner would send the video recording to other co-

                        conspirator(s), including his or her handler(s).



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               d.      After taking a cut of the proceeds from the cash, the runner

                       would deliver to others or transmit of the remaining cash, as

                       directed by his or her handler(s).

B.     Overt Acts

Victim L.M.

       9.      In March 2019, an unindicted co-conspirator(s) called Victim L.M. in Brazoria

County, TX. The unindicted co-conspirator(s), purporting to be calling from the Internal Revenue

Service (IRS) and the Drug Enforcement Administration (DEA), falsely claimed that there was a

federal warrant for L.M.’s arrest. At the direction of the unindicted co-conspirator(s), L.M. mailed

two parcels containing cash, including one addressed to “Jerry Kevin Rabb” at an apartment

building in Whiting, Indiana.

       10.     On or about March 30, 2019, the parcel mailed by L.M. was delivered to the

apartment building in Whiting, Indiana. An unindicted co-conspirator (“Runner M.S.”), a runner

managed by HARDIK JAYANTILAL PATEL, picked up L.M.’s parcel.

Victim C.M.

       11.     In May 2019, an unindicted co-conspirator(s) called Victim C.M. in Spring, TX.

The unindicted co-conspirator(s), purporting to be calling from the Drug Enforcement

Administration (DEA), falsely claimed that C.M.’s social security number had been used in money

laundering and drug trafficking and that she needed to pay money to avoid being arrested. At the

direction of the unindicted co-conspirator(s), C.M. mailed a parcel containing cash addressed to

“Alrich Dmello” at a FedEx location inside a Walgreens drug store in Houston, Texas.




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        12.      On or about May 7, 2019, an unindicted co-conspirator (“Runner W.M.”), a runner

managed by HARDIK JAYANTILAL PATEL, entered the Walgreens store in Houston, Texas,

presented a false identification document with the name “Alrich Dmello,” and was given the parcel

mailed by C.M.

Victim G.S.

        13.      In August 2019, an unindicted co-conspirator(s) called Victim G.S. in New York,

NY.    The unindicted co-conspirator(s), purporting to be calling from the Social Security

Administration, falsely claimed that G.S.’s social security number had been compromised and

used to commit various crimes. At the direction of the unindicted co-conspirator(s), G.S. mailed

a parcel containing cash addressed to “Barrat Moraes” at a FedEx location inside a Walgreens drug

store in Houston, Texas.

        14.      On or about August 9, 2019, Runner W.M., a runner managed by HARDIK

JAYANTILAL PATEL, entered the Walgreens store in Houston, Texas, presented a false

identification document with the name “Barrat Moraes,” and was given the parcel mailed by G.S.

Victim R.E.

        15.      Beginning in or about August 2019, an unindicted co-conspirator(s) called Victim

R.E. in Coral Gables, FL. The unindicted co-conspirator(s) falsely claimed that R.E. had been the

victim of identity theft and that she needed to send money to resolve the issue and protect her

identity.     At the direction of the unindicted co-conspirator(s), R.E. mailed several parcels

containing cash. One parcel (“Parcel #1”) was addressed to “Aaric Thomas” at a FedEx location

inside a Walgreens drug store in Houston, Texas. Another parcel (“Parcel #2”) was addressed to

“Aaric Thomas” at a FedEx location inside a Walgreens drug store in Missouri City, Texas.




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       16.     On or about September 17, 2019, Runner W.M., a runner managed by HARDIK

JAYANTILAL PATEL, entered the Walgreens store in Houston, Texas, presented a false

identification document with the name “Aaric Thomas,” and was given Parcel #1 mailed by R.E.

       17.     On or about September 19, 2019, Runner W.M., a runner managed by HARDIK

JAYANTILAL PATEL, entered the Walgreens store in Missouri City, Texas, presented a false

identification document with the name “Aaric Thomas,” and was given Parcel #2 mailed by R.E.

Victims C.M. & J.K.

       18.     Beginning in or about September 2019, an unindicted co-conspirator(s) called

Victim C.M. in Justice, Illinois. The unindicted co-conspirator(s), purporting to be a federal agent,

threatened to come to C.M.’s home if C.M. did not send money or gift cards. At the direction of

the unindicted co-conspirator(s), C.M. mailed several parcels containing cash. One parcel was

addressed to “John Phillips” at a FedEx location inside a Walgreens drug store in Hammond,

Indiana.

       19.     Beginning in or about October 2019, an unindicted co-conspirator(s) called Victim

J.K. in Peoria, Illinois. The unindicted co-conspirator(s), purporting to be calling from the Social

Security Administration (SSA), falsely claimed that J.K.’s social security number was under

suspicion. At the direction of the unindicted co-conspirator(s), J.K. mailed two parcels containing

cash, including one addressed to “John Phillips” at a FedEx location inside a Walgreens drug store

in Hammond, Indiana.




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       20.      On or about October 19, 2019, DHIRENKUMAR VISHNUBHAI PATEL

entered the Walgreens store in Hammond, Indiana, presented a false identification document with

the name “John Phillips,” was given the parcel mailed by C.M. and the parcel mail by J.K., and

departed the Walgreens store.

       All in violation of Title 18, United States Code, Section 1349.

                                COUNTS TWO THROUGH SIX
                               (Mail Fraud – 18 U.S.C. §§ 1341 and 2)

       The Grand Jury re-alleges Paragraphs 1 - 21 of this Indictment.

       21.      On or about the dates set forth below, in the Southern District of Texas and

elsewhere, the Defendant,

                               (1) HARDIK JAYANTILAL PATEL
                              aka Erik aka Mitesh aka Nick aka Dev,

with the intent to defraud, willfully participated in, with knowledge of its fraudulent nature, the

above-described scheme and artifice to defraud and to obtain money and property by materially

false and fraudulent pretenses, representations, and promises, and for the purpose of executing or

attempting to execute the above-described scheme and artifice to defraud and deprive, did

knowingly use and cause to be used the United States mail and private and commercial interstate

carriers to send and deliver the mail matter set forth below.



 Ct.             Date                                       Mail Matter

 2           March 29, 2019       Mail matter containing cash sent by Victim L.M. from an
                                  address in Lake Jackson, Texas.

 3            May 7, 2019         Mail matter containing cash sent by Victim C.M. and delivered
                                  to an address in Houston, Texas.

 4           August 9, 2019       Mail matter containing cash sent by Victim G.S. and delivered
                                  to an address in Houston, Texas.


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 Ct.            Date                                        Mail Matter

 5       September 17, 2019       Mail matter containing cash sent by Victim R.E. and delivered
                                  to an address in Houston, Texas.

 6       September 19, 2019       Mail matter containing cash sent by Victim R.E. and delivered
                                  to an address in Missouri City, Texas.


       All in violation of Title 18, United States Code, Section 1341 and 2.

                                   COUNT SEVEN
               (Conspiracy to Commit Money Laundering – 18 U.S.C. § 1956(h))

       The Grand Jury re-alleges Paragraphs 1 - 22 of this Indictment.

       22.     Beginning in or about March 2019 and continuing through in or about November

2019, within the Southern District of Texas and elsewhere, the Defendants,

                             (1) HARDIK JAYANTILAL PATEL
                            aka Erik aka Mitesh aka Nick aka Dev,

                                                and

                        (2) DHIRENKUMAR VISHNUBHAI PATEL,

did knowingly conspire with others known and unknown to the Grand Jury, to knowingly conduct

and attempt to conduct a financial transaction affecting interstate and foreign commerce which

involved the proceeds of specified unlawful activity, to wit, mail fraud, knowing that the property

involved in the financial transaction represented the proceeds of some form of unlawful activity,

and knowing that such transaction was designed in whole or in part to conceal and disguise the

nature, location, source, ownership, and control of the proceeds of said specified unlawful activity,

in violation of 18 U.S.C. § 1956(a)(1)(B)(i).

       In violation of Title 18, United States Code, Section 1956(h).




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                                 NOTICE OF FORFEITURE
                        18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c)

       Pursuant to Title 18, United States Code, Section 981(a)(1)(C) and Title 28, United States

Code, Section 2461(c), the United States gives notice to Defendants,

                             (1) HARDIK JAYANTILAL PATEL
                            aka Erik aka Mitesh aka Nick aka Dev,

                                                and

                        (2) DHIRENKUMAR VISHNUBHAI PATEL,

that in the event of conviction of Conspiracy to Commit Mail Fraud (18 U.S.C. § 1349) or Mail

Fraud (18 U.S.C. 1341), the Defendants shall forfeit to the United States of America all property,

real or personal, which constitutes or is derived from proceeds traceable to said violation(s).

                                  NOTICE OF FORFEITURE
                                    18 U.S.C. § 982(a)(1)

       Pursuant to Title 18, United States Code, Section 982(a)(1), the United States gives notice

to Defendants,

                             (1) HARDIK JAYANTILAL PATEL
                            aka Erik aka Mitesh aka Nick aka Dev,

                                                and

                        (2) DHIRENKUMAR VISHNUBHAI PATEL,

that in the event of conviction of Conspiracy to Commit Money Laundering (18 U.S.C. § 1956(h)),

the Defendants shall forfeit to the United States of America all property, real or personal, involved

in such offense, and all property traceable to such property.




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                               Money Judgment and Substitute Assets

       The United States will seek imposition of a money judgment against each Defendant. In

the event that a condition listed in Title 21, United States Code, Section 853(p) exists, the United

States will seek to forfeit any other property of the Defendant in substitution up to the total value

of the property subject to forfeiture.

                                                              A True Bill:


                                                              _________________________
                                                              Grand Jury Foreperson
       ALAMDAR S. HAMDANI
       United States Attorney


By:    _______________________________
       Stephanie Bauman
       Assistant United States Attorney
       713-567-9000




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